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                                           STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
LETITIA JAMES
                                                                                         EXECUTIVE DIVISION
ATTORNEY GENERAL

  By ECF
                                                                                 June 12, 2024

  The Honorable Taryn A. Merkl
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

                   RE: Cuomo v. Office of the New York State Attorney General
                       - Case No. 22-mc-03044

  Dear Judge Merkl:

         The Office of the Attorney General (“OAG”) respectfully submits this letter in opposition
  to Movant’s letter motion dated June 6, 2024 (ECF No. 66) (“Letter Motion”), which is
  procedurally improper and substantively without merit for the reasons discussed below.

  A. Cuomo’s Letter Motion Violates The Court’s Rules For Dispositive Motions

           At the April 19, 2024 status conference, the Court approved the parties’ joint proposal to
  tee up cross-motions to compel and quash a new, narrower subpoena to be served by Cuomo in
  lieu of his original subpoena, with the parties to submit a proposed briefing schedule for the Court’s
  approval. See April 19, 2024 Transcript excerpts (attached as Exhibit 1) at 71:12-23, 79:5-80:16.
  In accordance with that plan, on May 3, 2024, the Court approved the parties’ agreed-upon
  schedule, which provides for a period of three months to complete the parties’ submissions of
  affidavits (with exhibits) and memoranda of law in support of their respective dispositive motions
  to fully resolve this miscellaneous proceeding. See May 3, 2024 Docket Entry Order. Recognizing
  the complexity and number of the issues to be presented on their motions, the parties jointly
  requested, and the Court approved, an enlargement of the page limits for each side’s opening and
  reply memoranda of law to 40 pages and 20 pages, respectively. Id.; ECF No. 64.

         By his Letter Motion, Cuomo now asks the Court to scrap this negotiated, agreed-upon,
  and court-approved motion schedule. Instead, Cuomo requests that the Court dispense altogether
  with dispositive motions and simply leapfrog to an order that would “permit Governor Cuomo to
  enforce” his new subpoena and “summarily deny” OAG an opportunity to file a motion to quash,
  and to do so based on nothing more than a quick exchange of short letters. Letter Motion at 5.
  Why? Because, according to Cuomo, comments made by OAG’s counsel during a hearing in
  another matter more than one month ago somehow provide a magic “waiver” bullet that allows

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  the Court to resolve this miscellaneous action in Cuomo’s favor without any formal motion
  practice at all. Granting Cuomo’s request would trample on OAG’s rights and violate this Court’s
  local rules.

          Under Local Rule 7.1, all motions “shall include” a notice of motion, a memorandum of
  law, and supporting affidavits and exhibits “containing any factual information and portions of the
  record necessary for the decision on the motion,” Joint Local Rules of the Southern and Eastern
  Districts of New York (“LR”) 7.1(a), except for “[a]pplications for extensions or adjournments,
  applications for a pre-motion conference, and similar non-dispositive matters” that “may be
  brought by letter-motion,” LR 7.1(d) (emphasis added). Cuomo’s request for an order compelling
  OAG to comply with his subpoena is a dispositive motion that requires a formal motion and cannot
  be presented through an abbreviated letter-motion process.

          Moreover, even if LR 7.1 authorized a Judge of this Court to allow letter motions for
  dispositive matters (which is not the case), nothing in Your Honor’s individual rules permits letter
  motions for applications seeking dispositive relief, as Cuomo seeks here. See Individual Rules &
  Practices of U.S. Magistrate Judge Taryn A. Merkl at § 2. Nor do the individual rules of Judge
  DeArcy Hall, to which Your Honor’s individual rules defer (albeit only for non-dispositive
  matters, see id. at § 2.A.), allow for letter motions; in fact, Judge DeArcy Hall’s individual rules
  expressly provide that “[l]etter briefs are not permitted.” Judge DeArcy Hall Individual Practices
  at III.C.7.

          Finally, Cuomo’s delay in filing his Letter Motion smacks of procedural gamesmanship.
  As Cuomo admits, he has been aware for months of the facts that are the grounds for his waiver
  argument. The DOJ/EDNY agreement with the Executive Chamber was released on January 26,
  2024. Letter Motion at 2. On February 1, 2024, for reasons of confidentiality, OAG declined
  Cuomo’s request to tell him whether OAG had provided any information to the federal
  government.1 Id., Ex. 2. OAG took the same position in a March 22, 2024 declaration filed in
  support of its motion to quash Cuomo’s subpoena served on OAG in the Bennett Action, see id.,
  Ex. 4 at ¶ 27, a position OAG’s counsel then repeated during oral argument in the Bennett Action
  on May 8, 2024, id., Ex. 5. In other words, by the time the parties submitted on May 3 in this case
  their proposed three-month schedule for briefing their cross-motions, Cuomo had long known
  about the DOJ/EDNY agreement and knew for at least several weeks that OAG was continuing to
  refuse to say whether OAG had provided any investigative material to the DOJ or EDNY. OAG
  took the same position during oral argument in the Bennett Action on May 8, a mere five days
  after the parties submitted to Your Honor their proposed three-month schedule.


  1
    On February 5, 2024, Cuomo’s counsel sent a 12-page letter to Attorney General Merrick Garland
  requesting a meeting to discuss the agreement and complaining about OAG’s refusal to advise him
  whether OAG has shared any non-public information with the DOJ. In light of the current state of
  affairs reflected in Cuomo’s Letter Motion, it does not appear that Attorney General Garland
  acceded to Cuomo’s request for a meeting or advised him what information, if any, OAG provided
  to the DOJ.

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           Yet Cuomo waited until the day before OAG’s motion papers were due to file his request
  to jettison the schedule. There is no good-faith excuse for Cuomo’s inordinate delay. Rather,
  consistent with Cuomo’s continuing “efforts to try this case in the court of public opinion,” March
  29, 2024 Memorandum and Order, ECF No. 252, at 23, Cuomo’s Letter Motion appears to be
  nothing more than an attempt to put on the public docket a counter-narrative intended for media
  consumption immediately in advance of OAG’s filing. The Court should not countenance such
  tactics. Cuomo can present whatever arguments he raises now by letter in his memoranda of law
  and affidavits he is required to file under LR 7.1(a) in accordance with the negotiated, agreed-
  upon, and court-approved schedule. That is the appropriate procedure to follow to resolve the
  parties’ competing arguments, including the “novel and complex question of constitutional law”
  presented by OAG’s sovereign immunity defense. July 21, 2023 Decision and Order, ECF No. 37,
  at 36.

  B. In Any Event, Cuomo’s Waiver Arguments Are Without Merit

         Even if the Court were to consider Cuomo’s Letter Motion on the merits, his magic
  “waiver” bullet is a blank.

          First, there is no support for Cuomo’s legal argument that providing material to the DOJ
  would waive OAG’s sovereign immunity. As Magistrate Judge Cave held in her Opinion and
  Order issued today in the Bennett Action granting OAG’s motion to quash Cuomo’s subpoena
  based on sovereign immunity, any voluntary disclosure of material by OAG to the DOJ, “a federal
  executive agency,” did not waive OAG’s sovereign immunity because it “was not an act that
  affirmatively invoked federal court jurisdiction.” Bennett v. Cuomo, No. 22-cv-7846, ECF No. 272
  (S.D.N.Y. June 12, 2024), slip op. at 41 (emphasis in original) (attached as Exhibit 2). Moreover,
  Cuomo’s reliance on United States v. James, 980 F.2d 1314 (9th Cir. 1992), is seriously misplaced.
  James stands for the narrow proposition that a sovereign cannot provide documents held by one
  of its agencies to government prosecutors in a criminal case while simultaneously refusing to
  provide documents from the same agency to the criminal defendant being prosecuted. Id. at 1320
  (“The [sovereign tribe] cannot selectively provide documents and then hide behind a claim of
  sovereign immunity when the defense requests different documents from the same agency.”). The
  case does not support the very different proposition advanced by Cuomo that a sovereign waives
  immunity from suit by a private party to a civil action when it provides material to a law
  enforcement agency in connection with a separate independent investigation.2 Nor does the Ninth


  2
    For the same reason, Cuomo’s reliance on United States v. Velarde, 40 F. Supp. 2d 1314 (D.N.M.
  1999), is similarly unavailing. The court in Velarde merely adopts the holding in James that “[a]
  tribe expressly waives it sovereign immunity with respect to a particular agency when that agency
  voluntarily provides documents to the Government relevant to the case.” Id. at 1317. Moreover,
  this is merely dicta as the court held in the first instance that Congress had abrogated the tribe’s
  sovereign immunity when enacting the Indian Major Crimes Act, 18 U.S.C. § 1153. Id. at 1315,
  1316.

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  Circuit’s reasoning in James support the position Cuomo urges the Court to adopt. The Ninth
  Circuit concluded it was unfair for the sovereign to “selectively provide documents” to government
  prosecutors from an agency’s files while invoking sovereign immunity to shield from the
  defendant in that case other documents from the same agency. Id. Here, none of the parties to the
  Trooper 1 Action have the interview memoranda or the unredacted transcripts, so there would be
  no such unfairness even if OAG had provided such material to the DOJ. Cf. Smith v. Cromer, 159
  F.3d 875, 880 (4th Cir. 1998) (holding no waiver of federal sovereign immunity where federal
  officials partially disclosed information sought by a criminal defendant to a state parole
  commission and state court judge for in camera review, but not to the prosecutors).

         Indeed, OAG has failed to uncover any case holding that a sovereign waives immunity
  from civil proceedings brought by a private party based on the sovereign having shared
  information with law enforcement agencies. Rather, where courts find waiver of sovereign
  immunity, it is based on litigation conduct specifically in the case in which the sovereign asserts
  the immunity defense. See, e.g., Lapides v. Bd. of Regents of Univ. Sys. Of Georgia, 535 U.S. 613,
  619 (2002) (holding state waived sovereign immunity under the Eleventh Amendment by removing
  the case from state to federal court). Even if, arguendo, OAG shared investigative material with
  the DOJ, doing so cannot possibly be construed as “litigation conduct” by OAG in this action. See
  Bennett, slip op. at 41 (Ex. 2).

          Second, in any event, Cuomo has zero evidentiary basis for the premise of his waiver
  argument—that OAG did, in fact, provide the DOJ with all the interview memoranda and
  unredacted transcripts he now seeks. Citing confidentiality concerns, OAG has consistently
  refused to tell Cuomo if OAG provided any investigative material to the DOJ. Cuomo’s contention
  that OAG’s refusal to answer must mean that OAG did provide such material to the DOJ, Letter
  Motion at 3, steps through the looking glass. The same is true with OAG’s offer to respond to
  Judge Cave in camera about whether OAG provided investigative materials to the DOJ. Cuomo
  first misrepresents that OAG’s counsel offered “to provide a list of the produced materials,” which
  he concludes must mean “materials had in fact been produced.” Id. at 3. However, what OAG’s
  counsel actually offered to provide to Judge Cave in camera was the requested “information”—
  i.e., whether OAG provided anything to the DOJ and EDNY, and if so, what. Letter Motion, Ex.
  5 at 48:9-25. There is no basis in the record on Cuomo’s Letter Motion for the Court to find that
  OAG provided any investigative material to the DOJ, much less all the material Cuomo now seeks.

          Third, Cuomo maintains that disclosure of the requested materials “or other related
  materials” waives “each and every privilege the OAG has asserted.” Letter Motion at 4. But
  Cuomo concedes that this waiver argument is no different than the waiver argument he has raised
  from the outset of this case based on OAG’s disclosures to the five District Attorneys, id. at n. 4,
  yet he never contended at the April 19 status conference or when agreeing to the court-approved
  three-month schedule that this was reason to abandon formal motion practice. Cuomo will have
  ample opportunity to argue (again) in his motion papers due on July 12 that OAG’s disclosure to
  other law enforcement agencies pursuant to confidentiality agreements waives OAG’s asserted
  privileges.



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           The Court should reject Cuomo’s last-minute effort to scuttle the court-approved motion
  schedule in favor of an abbreviated “letter motion” procedure that unfairly prejudices OAG’s rights
  and violates this Court’s local rules governing dispositive motions. The novel and complex legal
  issues presented by Cuomo’s subpoena deserve a full airing on a complete record through formal
  motion practice, where the parties are permitted to submit memoranda of law, affidavits, and
  exhibits as required by LR 7.1. For these reasons, the Court should deny Cuomo’s Letter Motion
  in its entirety.

                                                                             Respectfully,

                                                                              /s/ Andrew S. Amer
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  cc: Counsel of Record (via ECF)




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